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                     UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA

Richard C. Brenke,                       No. 2:20-cv-56-MTL
                 Plaintiff,              STIPULATION OF DISMISSAL
                                         WITH PREJUDICE
       v.
Massachusetts Mutual Life Insurance
Company; Treloar & Heisel, Inc.; John
A. Adcock and Jane Doe Adcock,
               Defendants.

Massachusetts Mutual Life Insurance
Company,
            Counterclaimant,

v.

Richard C. Brenke,

             Counterdefendant.
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        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties stipulate to the dismissal of

this case in its entirety with prejudice, each party to bear its own costs and attorneys’

fees.

        DATED this 30th day of October, 2020.

                                              THE HASSETT LAW FIRM, P.L.C.


                                             By: /s/ David R. Seidman       __________
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                                                 Counter Claimant Massachusetts Mutual Life
                                                 Insurance Company




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                           CERTFICATE OF SERVICE

      I hereby certify that on this 30th day of October, 2020, I electronically

transmitted a pdf copy of the foregoing document to the Clerk’s Office using the

CM/ECF System for filing and transmitted a copy of the electronic filing to the

CM/ECF registrants; and a Copy of the foregoing Stipulation of Dismissal with

Prejudice has also been separately transmitted to all counsel of record via email:

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/s/ Michele L. Glendenning        ______
31750/Stipulation for Dismissal




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